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             In the United States Court of Federal Claims
                                          BID PROTEST

                                                 )
 HARMONIA HOLDINGS GROUP, LLC,                   )
                                                 )
                        Plaintiff,               )
                                                 )     No. 21-836C
        v.                                       )     (Filed: February 4, 2021)
                                                 )
 THE UNITED STATES OF AMERICA,                   )
                                                 )
                        Defendant.               )
                                                 )

                                             ORDER

       At the status conference held today, the parties agreed to the following expedited briefing
schedule:

       February 19, 2021        The government shall file the administrative record.

       February 26, 2021        Plaintiff shall file its motion for judgment on the administrative
                                record (“MJAR”).

       March 5, 2021            The government shall file its response to Plaintiff’s MJAR and
                                its own MJAR.

       March 11, 2021           Plaintiff shall file its response to the government’s MJAR and
                                reply in support of its own MJAR.

       March 16, 2021           The government shall file its reply in support of its MJAR.

       March 18, 2021           Oral Argument.

         The government may file the administrative record via DVD but shall also provide the Court
with a printed and tabbed courtesy copy within a week after filing the record via DVD. Further, in
light of the expedited briefing schedule for the cross-motions for judgment on the administrative
record, Plaintiff’s Motion for a Preliminary Injunction, ECF No. 3, is DENIED as moot.

       IT IS SO ORDERED.

                                                     s/ Elaine D. Kaplan
                                                     ELAINE D. KAPLAN
                                                     Judge
